                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN



THE DEMOCRATIC PARTY OF WISCONSIN, et al.,

                                               Plaintiffs,                    ORDER
        v.

ROBIN VOS, in his official capacity as speaker                            19-cv-142-jdp
of the Wisconsin State Assembly, et al.,
                                            Defendants.




        Some of the defendants have filed a motion to stay discovery and cancel the preliminary

pretrial conference (dkt. 54), which plaintiffs oppose (dkt. 55). Consistent with its recent relaxation

of its longstanding scheduling policies, the court is granting the motion in part.

        On February 21, 2019, plaintiffs filed the instant lawsuit, along with a motion for a

preliminary injunction and supporting documents. See dkts. 1-11, 14, 15 and 18. Between February

26-28, the defendants appeared by various counsel, sorting themselves along political party lines. See

dkts. 21(the Vos defendants) and 25-28 (the Evers defendants). On March 14, 2019, the Vos

defendants filed a motion to dismiss in conjunction with their opposition to plaintiffs’ PI motion.

See dkts. 34-36. On April 12, 2019, the court announced that it would decide the pending motions

on the briefs and requested some additional input, see dkt. 49, which the parties provided on April

26, 2019. On April 30, 2019, the court set a telephonic preliminary pretrial conference for June 4,

2019.

        On May 21, 2019, the Vos defendants moved to stay discovery and cancel the pretrial

conference, asking the court to decide their dismissal motion before requiring the parties to take any

further action. See dkt. 54. Plaintiffs responded on May 24, 2019, pointing out that this court

historically has denied such requests. That used to be true; it’s not true anymore. Starting about

a year ago, the court began granting cabined discovery stays in cases where the defendant has filed
a dismissal motion before the court set the schedule at the preliminary pretrial conference. In this

situation, the court accounts for the length of the stay when setting the schedule so that the plaintiff

is not prejudiced by having to tread water for two or three months, and so that the case does not

lose its place in line for trial. That’s what we are going to do here.

         Due to his workload, Judge Peterson is not likely to rule on the pending motions in the near

future, but it’s realistic to predict that an order will issue by the end of August. Therefore, discovery

is stayed until the court rules on the pending motions or until August 30, 2019, whichever comes

first.

         As a result of this stay, the court is going to set a trial date on the earliest date a year out that

works for both sides. These trial dates work for the court, all in 2020: August 31, September 8

(Tuesday), September 21, September 28, October 5 and October 13, 2019. Not later than June 6,

2019, the parties are to report the earliest jointly available date from this list, and that will be the

trial date. If they can’t agree, then we will get on the telephone and the court will pick the date after

hearing from both sides. The court will set the rest of the dates leading toward trial if necessary after

it rules on the pending motions. The June 4, 2019 telephonic preliminary pretrial conference is

canceled as unnecessary.



         Entered this 29th day of May, 2019.

                                                   BY THE COURT:

                                                   /s/
                                                   STEPHEN L. CROCKER
                                                   Magistrate Judge




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